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9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             ASETEK DANMARK A/S OPPOSITION TO
                          Counterdefendant,         DEFENDANTS’ MOTION TO STRIKE
15                                                  EXHIBIT 275
     ASETEK USA, INC.,
16
                          Counterdefendant,         Date:       May 5, 2022
17                                                  Time:       1:30 PM
                   v.                               Location:   Courtroom 5, 17th Floor
18                                                  Judge:      Hon. Edward M. Chen
     COOLIT SYSTEMS, INC.,
19
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED,
22   COOLIT SYSTEMS (SHENZHEN) CO.,
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

27

28
                                                                       ASETEK’S OPPOSITION TO DEFENDANTS’
                                                                             MOTION TO STRIKE EXHIBIT 275
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1    I.      INTRODUCTION

2            CoolIT asks the Court to strike Exhibit 275, a document that came into this case in response

3    to criticisms first included in the rebuttal report of CoolIT’s expert, but CoolIT’s request is not

4    supported by the Federal Rules of Civil Procedure and its motion should be denied. 1 Rule 37(c)(1)—

5    the Rule CoolIT relies on—does not support exclusion of a document that CoolIT did not request

6    during discovery. Contrary to the assertions in its motion, CoolIT did not request Exhibit 275 during

7    discovery, but instead served document requests related to the structure of the prior art Antarctica

8    device, not documents related to the manufacturing of that product, much less the tools that were

9    used to manufacture that product (as in Exhibit 275). Asetek agreed to and did produce documents
10   sufficient to show the structure of the Antarctica device in discovery. CoolIT never asked for more.
11   Because CoolIT did not seek documents relating to the tools used to manufacture the Antarctica,
12   there is no violation of Rule 37 for Asetek having not produced Exhibit 275 earlier.
13           Moreover, even if Rule 37 were applicable here (and it is not), there should be no exclusion
14   of Exhibit 275 because each of the two exceptions to exclusion stated in the rule apply: the timing
15   of Asetek’s production of Exhibit 275 was (1) substantially justified and (2) harmless to CoolIT.
16   (Rule 37 states these exceptions to exclusion in the disjunctive, so either one supports denial of
17   CoolIT’s motion.) The timing was substantially justified because Asetek’s expert, Dr. Tuckerman,
18   sought the information in Exhibit 275 as a direct response to criticisms articulated for the first time
19   in CoolIT’s expert’s rebuttal report. Dr. Tuckerman’s deposition—where he testified about the
20   machining information in Exhibit 275 (which he had just received from Asetek) in response to
21   questions from CoolIT’s counsel—was less than two weeks after he received Dr. Pokharna’s
22   criticisms. Dr. Tuckerman did not articulate any new opinions or invalidity theories in connection
23   with Exhibit 275; rather, he cited Exhibit 275 to respond to the critiques in CoolIT’s expert’s rebuttal
24   report, and as further support for the same opinions he expressed in his initial report.
25

26
             1
              The Motion to Strike Exhibit 275 is purportedly submitted on behalf of “Defendants,” but
27   Corsair Gaming, Inc. and Corsair Memory, Inc. have no interest in the CoolIT patents-in-suit and
     Exhibit 275 concerns evidence related to whether CoolIT’s patents are valid over the prior art.
28   Because Corsair has no interest in the validity of CoolIT’s patents, Asetek’s opposition treats the
     motion as one filed by CoolIT and not all defendants.                       ASETEK’S OPPOSITION TO DEFENDANTS’
                                                         1                             MOTION TO STRIKE EXHIBIT 275
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1            In addition, CoolIT has not been harmed by Asetek’s production of Exhibit 275. CoolIT has

2    had months to consider Exhibit 275, CoolIT questioned Dr. Tuckerman about Exhibit 275 in his

3    deposition in March (three months after Exhibit 275 was produced), and CoolIT’s expert considered

4    Exhibit 275 and responded to it in his own deposition. With nearly a year until trial, this case does

5    not present circumstances like those where judges have found harm from late disclosure. CoolIT has

6    not been “ambushed” on the eve of trial or anything along those lines.

7            Rather than address this case and the expert’s differences on the merits, CoolIT is trying to

8    keep relevant evidence from the jury that corroborates Dr. Tuckerman’s opinions and measurements.

9    Because Rule 37 does not apply here, and because Asetek’s production of Exhibit 275 was
10   substantially justified and harmless, the Court has three independent bases on which it can—and
11   should—deny CoolIT’s motion.
12   II.     FACTUAL BACKGROUND
13           A.     Dr. Tuckerman Measured the Channels of the Antarctica Device at the
                    Base, Where Most Heat Transfer Occurs
14

15           In preparing his opinions on the invalidity of CoolIT’s patents, Dr. Tuckerman personally
16   analyzed and measured a physical sample of Asetek’s Antarctica device, and wrote in his opening
17   that “the space between adjacent fins is about 0.9 - 1.0 mm, and therefore the channels formed
18   between adjacent fins are microchannels per the parties’ stipulation that ‘microchannels’ means
19   ‘channels with widths up to 1 millimeter.’” Dkt. 389-2, ¶ 57. Dr. Tuckerman noted his measurements
20   comport with the deposition testimony of Andre Eriksen, Asetek’s CEO and the designer of the
21   Antarctica waterblock, who had estimated the microchannel width at between 0.6 and 0.8
22   millimeters. Id. Dr. Tuckerman explained in his deposition that he measured the microchannels with
23   calipers (Dkt. 389-3 at 138:10-13), that he inspected the device on July 5, 2022 (before he submitted
24   his report) (id. at 122:20-123:11), and that he measured the channels at the base, “because the base
25   of the fins is where most of the heat transfer occurs.” (id. at 137:22-138:9). CoolIT does not dispute
26   the reliability or appropriateness of Dr. Tuckerman’s methodology of measuring the microchannels
27   at the base with calipers.
28
                                                                                 ASETEK’S OPPOSITION TO DEFENDANTS’
                                                        2                              MOTION TO STRIKE EXHIBIT 275
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1           B.      Dr. Pokharna Measured the Antarctica Channels at the Top, Away from
                    Where Heat Transfer Occurs
2

3           CoolIT’s expert, Dr. Pokharna, used a different measuring methodology than Dr. Tuckerman,

4    and based on his differing methodology, Dr. Pokharna’s rebuttal report criticized Dr. Tuckerman’s

5    opinions. Rather than measure the microchannels near the base, the area most relevant for the

6    thermal exchange function performed by the devices at issue, Dr. Pokharna measured the channel

7    width at the top of the cold plate, the part furthest away from the heat-generating component and

8    thermal exchange functions. From this different measuring location, Dr. Pokharna says his

9    measurements showed microchannels of greater than 1 millimeter, and he disagreed with Dr.
10   Tuckerman as to whether the Antarctica device has “microchannels.” Dkt. 389-5, ¶ 74. CoolIT had
11   not communicated Dr. Pokharna’s rebuttal opinions regarding the measurement of the Antarctica
12   device before serving his rebuttal report on December 8, 2021. Smyth Decl., ¶ 4.
13          C.      Dr. Tuckerman Explained the Flaws in Dr. Pokharna’s Measurement
                    Method in His First Deposition
14

15          Less than two weeks after Asetek received Dr. Pokharna’s rebuttal expert report, Dr.
16   Tuckerman sat for a deposition on his invalidity report and explained why he disagreed with Dr.
17   Pokharna’s approach to measuring the Antarctica device at the top of the microchannels:
18          He measured the fins at the top; I had measured them at the bottom. . . . I would
            have expected fins to be larger at the top, that is an inherent -- channel widths to
19          be larger at the top. That’s an inherent feature of machining. And the technique
            that Dr. Pokharna used to measure is subject to error if you, you know, apply
20          excessive force to the -- you know, to it because the copper is very, very soft. And
            so the slightest little bit of force will put an indentation in the copper and give you
21          a high reading.
22   Dkt. 389-3 at 138:24-139:11. After seeing Dr. Pokharna’s opinions in his rebuttal report, Dr.
23   Tuckerman wondered whether any documentation from Asetek (the manufacturer of the Antarctica)
24   could resolve the discrepancy. Id. at 139:12-14. Asetek then located the machining tools used for
25   manufacturing the Antarctica device (pictured in Exhibit 275), which showed the width of the
26   machining blade was 0.93 millimeters (Dkt. 395-5), a measurement that corroborates Dr.
27   Tuckerman’s measurements and not Dr. Pokharna’s.
28
                                                                                   ASETEK’S OPPOSITION TO DEFENDANTS’
                                                         3                               MOTION TO STRIKE EXHIBIT 275
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1           In response to questions from Defendants’ counsel during his deposition on December 20,

2    2021, Dr. Tuckerman testified that he consulted Exhibit 275 for additional corroboration of the

3    widths of the Antarctica channels, and that he was able to confirm based on a legend below the

4    picture of the blades (that Asetek advised was used to machine the channels in Antarctica) that the

5    blades were indeed “intended to give you a nominal 1-millimeter” cut. Dkt. 389-3 at 138:10-140:23.

6    CoolIT’s counsel did not follow up on Exhibit 275 or the legend, which is in English (not Danish),

7    and Asetek’s counsel redirected Dr. Tuckerman on the legend to clarify and complete the record:

8           Q. Dr. Tuckerman, earlier in your deposition when CoolIT and Corsair’s counsel
            was questioning you, you mentioned at looking at a machining document. Is
9           Exhibit 275 the document that you were referring to?
            ...
10
            A: Yes, I recall you show -- you showing this to me.
11
            Q. And is this Exhibit 275 the document that you referred to as the Asetek
12          machining document earlier in your deposition?
13          ...
14          A. It is what I referred to, yes.
15          ...
16          Q. Earlier in your deposition you said that Exhibit 275 showed you a tool that was
            -- that is, based on your understanding, the tool that was used to machine the
17          microchannels in the Antarctica device. You do you recall that?
18          ...
19          A. Yes. It’s my understanding that it’s Asetek’s assertion that this is the blade that
            was used to cut the microchannels, and it is evident from the picture that it had a
20          [thickness] of 0.93 millimeters, which -- and then the box that it’s showing below,
            you may want to zoom out a little bit, the -- Asetek asserts that that box contains,
21          I believe, the saw blades. And [from] the labeling on the box, I am a making an
            inference from the 50-by-1-by-13, that the 50 is probably a blade diameter, and
22          the 1 refers to the thick -- the nominal thickness of the cut that it's supposed to
            make. In other words, you know, if you’re trying to make a nominal 1-millimeter
23          cut, you’re going to use a blade that is thinner than that because there’s what's
            called a kerf width that you always get when you cut. So it always -- you always
24          end up with a groove that’s a little larger than your blade. But that blade would be
            consistent with the kind of channels I saw on Antarctica.
25

26   Id. at 261:20-264:15 (emphases added). The testimony above shows that Document 275 is not
27   entirely in Danish; that Dr. Tuckerman was able to read some parts of it and learn relevant
28   information from it; and that Dr. Tuckerman was relying on representation from Asetek (relayed
                                                                                  ASETEK’S OPPOSITION TO DEFENDANTS’
                                                        4                               MOTION TO STRIKE EXHIBIT 275
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1    through counsel) that the blades in Exhibit 275 are the blades used for machining Antarctica.

2    CoolIT’s counsel objected and did not otherwise question Dr. Tuckerman about Exhibit 275 in that

3    first deposition. Id.

4            D.      Defendants’ Expert, Dr. Pokharna, Considered Exhibit 275 Before Sitting
                     for His Deposition, and Opined About Exhibit 275 at His Deposition
5

6            More than two weeks after Dr. Tuckerman’s deposition, Dr. Pokharna sat for his own

7    deposition and offered his own opinions on Asetek’s machining evidence in Exhibit 275. Smyth

8    Decl., Ex. A at 125:24-126:10. Dr. Pokharna offered his view that it is “physically impossible to

9    make something that is .9 wide using a .93 tool. Because the width of a channel is always more than
10   the width of the tool being used.” Id. 126:17-22. He continued: “In all practical implementations, all
11   it means is that it’s going to be more than .93. How much more than .93 is a function of the fixture
12   rate, how well has been fixtured, the extension of the tool from where it is really, you know, fastened
13   to the machine because that defines the amplitude of how much the tool you can radius the tip. So
14   basically without going into too much detail, the channel has to be more than .93.” Id. at 127:4-12.
15   In short, Dr. Pokharna considered Exhibit 275 and testified as to why, in his opinion, Exhibit 275
16   does not support Dr. Tuckerman’s measurement.
17           E.      CoolIT’s Counsel Questioned Dr. Tuckerman Extensively About His
                     Antarctica Measurements and Exhibit 275 at His March 2022 Deposition
18

19           After the completion of expert depositions, Judge Beeler granted CoolIT an additional two
20   hours of deposition time with Dr. Tuckerman, which CoolIT used to question him about Exhibit 275
21   in March 2022. Indeed, even though Exhibit 275 was not among the topics CoolIT’s counsel
22   identified for the deposition (as it was required to do by Judge Beeler (Dkt. 370)), CoolIT
23   affirmatively asked Dr. Tuckerman numerous questions about Exhibit 275 for twenty minutes.
24   Smyth Decl., Ex. B at 17:7-30:13. Dr. Tuckerman explained his understanding that Exhibit 275
25   depicts the blade used by Asetek to manufacture the Antarctica device (id.), the width of which is
26   readily apparent from the picture in Exhibit 275. Dr. Tuckerman also testified about Dr. Pokharna’s
27   opinion that the actual channel must be wider than the blade, noting:
28           [G]enerally with that type of machining with blades, you -- you get a taper. Okay?
             There’s blade wobble, and such. And you -- you know, you get something that's
                                                                                 ASETEK’S OPPOSITION TO DEFENDANTS’
                                                        5                              MOTION TO STRIKE EXHIBIT 275
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1           wider at the top than at the bottom. At the bottom you would expect to get -- you
            know, either exactly the blade width, or if the blade has worn, you know, because
2           when blades have been used for a while they can, you know, get -- get narrower,
            maybe it would be even less.
3

4    Id. at 24:7-16.

5           Importantly, Dr. Tuckerman was clear in his March 2022 deposition (as he has been

6    throughout) that his opinion that the Antarctica has microchannels of less than one millimeter is

7    based on his own measurements of the physical device, not on what is depicted in Exhibit 275. Id. at

8    25:23-26:3 (“[T]he only thing I can actually assert about the dimensions of that particular Antarctica

9    were the measurements that I took on that particular sample, which I measured with calipers at the
10   base of the samples, and got numbers that were close to but not in excess of 1 millimeter.”). Dr.
11   Tuckerman only considered Exhibit 275 as “corroboration” of his own personal inspection and
12   measurements of the Antarctica device. Id. at 26:4-10. Dr. Tuckerman also explained again in his
13   deposition how he measured the microchannels on the Antarctica device (using calipers at the base)
14   and when he took those measurements (on or around July 5th, 2021). Id. at 14:3-11. Dr. Tuckerman
15   had no opportunity other than during his depositions to address the new opinions in Dr. Pokharna’s
16   rebuttal report, because there were no reply expert reports in the case schedule. Dkt. 325 at 1.
17          F.         CoolIT Did Not Seek or Pursue Discovery on Asetek’s Manufacturing
                       Tools for the Antarctica Device
18

19          Fact discovery in this case lasted for the better part of two years, and CoolIT never sought
20   documentation or discovery on the tools Asetek used to manufacture the Antarctica device, although
21   it was free to do so. Instead, CoolIT’s document requests for the Antarctica consisted of a few
22   overbroad requests that focused on the structure of the device (which CoolIT could also observe
23   from the physical product sample), not the tools or methods for manufacturing the product. The two
24   requests identified in CoolIT’s motion are stated below.
25          CoolIT’s Request No. 99 sought “ALL DOCUMENTS concerning the ANTARCTICA
26   “WATER CHILL” LIQUID COOLING KIT as it existed before August 9, 2007.” Dkt. 389-8 at 2.
27   This request is not focused on any particular type of document at all. Asetek objected to CoolIT’s
28   request for “all documents” as overbroad, unduly burdensome, and vague on its face. Id. Asetek
                                                                                 ASETEK’S OPPOSITION TO DEFENDANTS’
                                                        6                              MOTION TO STRIKE EXHIBIT 275
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1    separately objected that this request is vague and ambiguous and “fails to describe the documents

2    sought with reasonable particularity.” Id. at 2-3. Asetek “agreed to search for and produce specific

3    categories of documents related to the Antarctica device as outlined in response to CoolIT’s other

4    document requests below.” Id. at 3. Thus, Asetek did not agree to produce “all documents” related to

5    the Antarctica device in response to this request, and Asetek duly made the Antarctica device

6    available for inspection and only produced documents relating to the structure, marketing, and sales

7    of the Antarctica. Smyth Decl., ¶ 5. CoolIT never raised any complaints about Asetek’s objections,

8    response, or production related to this document request. Id., ¶ 6.

9              CoolIT’s Request 102, sought “All DOCUMENTS concerning the design, structure, and
10   operation of the ANTARCTICA “WATER CHILL” LIQUID COOLING KIT as it existed before
11   August 9, 2007, including but not limited to user manuals, installation manels, technical manuals,
12   specifications, engineering drawings, and other documentation.” Dkt. 389-8 at 4. Asetek again
13   objected to the request for “all documents” as overbroad, unduly burdensome, and vague on its face.
14   Id. Asetek also noted that because the physical device was available for inspection at Finnegan’s
15   offices in Palo Alto, “documents related to the design, structure, and operation” of the Antarctica
16   were redundant. Id. at 4-5. Nevertheless, Asetek agreed to “conduct a reasonable search for
17   documents sufficient to show the structure of the Antarctica device,” id. at 5, which Asetek
18   produced. CoolIT never raised any complaints about Asetek’s objections, response, or production
19   related to this document request. Smyth Decl., ¶ 6.
20             Thus, contrary to the allegations in their motion, CoolIT never asked for discovery or
21   documents related to the tools used for manufacturing the Antarctica device, and never specifically
22   requested that Asetek produce any such discovery or information. Dkt. 389-8; Smyth Decl., ¶ 6.
23   III.      ARGUMENT
24             A.     Because CoolIT Never Requested Documents Related to Manufacturing
                      Tools for the Antarctica, Rule 37 Does Not Apply and There is No Basis
25                    for Striking Exhibit 275
26             CoolIT’s motion to strike is fatally flawed because CoolIT never sought manufacturing
27   information for the Antarctica device (like that in Exhibit 275) and Asetek never agreed to search for
28   or produce such documents. The only two requests CoolIT identified in its motion are vague and
                                                                                  ASETEK’S OPPOSITION TO DEFENDANTS’
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1    overbroad and do not request manufacturing documents. Asetek objected and responded to those

2    requests by stating the kinds of documents it would search for and produce, which did not include

3    anything relating to the tools used to manufacture the Antarctica, Defendants never complained or

4    requested anything more. This alone warrants denial of CoolIT’s motion.

5           For the Court to grant CoolIT’s request to strike Exhibit 275, CoolIT must first demonstrate

6    Rule 37(c)(1) applies, but it has failed to do so. Rule 37(c)(1) is only a basis to exclude information

7    that was not disclosed as required by Rule 26(a) or (e). Fed. R. Civ. P 37(c)(1). CoolIT argues that

8    Asetek should have produced Exhibit 275 during fact discovery—citing two document requests—

9    and implies that Asetek’s failure to do so was a violation of Rule 26(e) (which would then trigger
10   Rule 37(c)(1)). But Rule 26(e) only requires supplementation of responses to document productions
11   that are incomplete. Neither of CoolIT’s Request Nos. 99 and 102 seek manufacturing documents
12   with “reasonable particularity,” as would be required if Defendants had sought those documents in
13   discovery. Fed. R. Civ. P. 34(b)(1)(A). Asetek’s responses were not incomplete because Asetek
14   objected and never agreed to produce documents relating to manufacturing tools. Asetek fairly and
15   properly objected to CoolIT’s request for “all documents” as overbroad and lacking “reasonable
16   particularity.” Asetek’s response to Request Nos. 99 and 102 was unambiguous in what Asetek
17   agreed to produce (documents “sufficient to show” the structure of the Antarctica device), and
18   CoolIT never asked for more or served additional requests. Asetek had no obligation to produce
19   documents that were not asked for with reasonable particularity and so neither Rule 26(e) nor Rule
20   37(c)(1) apply to Exhibit 275.
21          Based on CoolIT’s failure to request Exhibit 275 alone, the Court should deny in its entirety
22   CoolIT’s motion to strike Exhibit 275.
23          B.      Even if Rule 37 Applied, the Court Should Deny CoolIT’s Motion
                    Because the Two Express Exceptions to Exclusion Under Rule 37 Apply
24                  Here
25          Even if CoolIT were able to demonstrate that Asetek failed to comply with Rule 26(a) or
26   26(e) in some respect—which it has not—there are two important exceptions to exclusion that are
27   expressly stated in Rule 37: “the party is not allowed to use that information or witness to supply
28   evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is
                                                                                    ASETEK’S OPPOSITION TO DEFENDANTS’
                                                          8                               MOTION TO STRIKE EXHIBIT 275
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1    harmless. Fed. R. Civ. P. 37(c)(1) (emphasis added). The exceptions are stated in the disjunctive

2    (“or) so either one supports denial of Defendants’ motion to exclude. Here, Asetek’s introduction of

3    Exhibit 275 in expert discovery to rebut the previously undisclosed opinions of CoolIT’s expert was

4    substantially justified and harmless to CoolIT.

5                   1.      Asetek’s production of Exhibit 275 was substantially justified as a
                            response to Dr. Pokharna’s previously undisclosed positions.
6

7           Asetek’s production of Exhibit 275 in connection with Dr. Tuckerman’s response to

8    previously undisclosed criticisms in Dr. Pokharna’s rebuttal report was substantially justified. In

9    similar circumstances, judges in this district have allowed expert witnesses to respond to new
10   criticisms in rebuttal expert reports from the opposing side. See Cave Consulting Grp., Inc. v.
11   OptumInsight, Inc., Case No. 15-CV-03424-JCS, 2018 WL 1938555, at *4 (N.D. Cal. Apr. 25,
12   2018) (“The experts may, however, testify at their depositions regarding not only the subject matter
13   of their initial reports but also any critiques of their opinions presented in the rebuttal reports…”);
14   see also Sportspower Ltd. v. Crowntec Fitness Mfg. Ltd., Case No. 817CV02032JLSKES, 2020 WL
15   7347860, at *3 (C.D. Cal. Nov. 18, 2020) (citing Cave and denying motion in limine to exclude
16   expert analysis). In Cave, there were no reply expert reports under the schedule, the Court allowed
17   the experts to respond to criticisms in deposition, as long as no new opinions were included. That is
18   exactly the same situation here, because without reply expert reports, Dr. Tuckerman’s deposition
19   was his only opportunity to respond to Dr. Pokharna’s criticisms. Moreover, Dr. Tuckerman did not
20   introduce new theories, but merely cited to additional corroboration of his previously disclosed
21   opinions.
22          Courts have also allowed an expert to respond to criticisms via deposition testimony in view
23   of the difficulty of anticipating rebuttal expert opinions with precision before they are received. See
24   Stored Value Sols., Inc. v. Card Activation Techs., Inc., Case No. 09-495-LPS, 2010 WL 3834457, at
25   *2 (D. Del. Sept. 27, 2010) (denying motion to strike expert rebuttal report and noting that “the
26   specifics of one expert’s response to another expert’s critique of the first expert’s initial report
27   cannot be anticipated with precision prior to receipt of the second expert’s critiquing report.”). The
28
                                                                                    ASETEK’S OPPOSITION TO DEFENDANTS’
                                                          9                               MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
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1    circumstances in Stored Value are similar to this case, because Dr. Tuckerman could not precisely

2    anticipate Dr. Pokharna’s specific criticisms before he received and reviewed Dr. Pokharna’s report.

3            As in the above cases, Dr. Tuckerman’s deposition testimony concerning Exhibit 275 was in

4    direct response to the criticisms in Dr. Pokharna’s rebuttal report, and critically did not advance any

5    new opinions, Dr. Tuckerman merely cited corroborating evidence for the same opinions expressed

6    in his original report. As he explained in his deposition, Dr. Tuckerman believes the bottom of the

7    microchannel is the most relevant portion to measure, since that is the part closest to the source of

8    heat that the device is seeking to cool, and that measuring at the bottom of the microchannel is the

9    correct measurement. Dkt. 389-3 at 138:1-4. It was not until Dr. Pokharna provided his rebuttal
10   report in December of 2021 that Dr. Tuckerman learned of Dr. Pokharna’s opinion that Dr.
11   Tuckerman’s measurements were incorrect. 2 Although Dr. Tuckerman did not think it was necessary
12   to look at the manufacturing tool documents to confirm his measurements when he prepared his

13   initial report, after Dr. Pokharna arrived at different measurements with a different approach, Dr.

14   Tuckerman sought corroboration of his original measurements on that narrow issue. Id. at 138:17-

15   140:23. Doing so was substantially justified.

16           CoolIT’s reliance on MLC Intellectual Property, LLC v. Micron Technology, Inc., 10 F.4th

17   1358, 1371 (Fed. Cir. 2021), is inapplicable because in that case the document at issue had been

18   requested in fact discovery, which is not the case here. Thus, the fact that the evidence was in the

19   party’s possession from the outset is inapposite, because the party in MLC failed to comply with its

20   Rule 26 obligations, but the same is not true for Asetek.

21           Moreover, Dr. Tuckerman and Asetek provided Exhibit 275 to CoolIT less than two weeks

22   after receiving Dr. Pokharna’s rebuttal report. CoolIT’s focus on the four months between the close

23   of fact discovery and Dr. Tuckerman’s deposition is incorrect because Exhibit 275 was not called for

24   until receipt of Dr. Pokharna’s rebuttal report on December 8. The timing of Asetek’s production of

25

26
             2
              Although CoolIT produced some of the images Dr. Pokharna relied in in his expert report,
27   they were included a collection of about 150 documents measuring all aspects of the physical prior
     art devices. Importantly, CoolIT provided no explanation of which images Dr. Pokharna would use
28   or what Dr. Pokharna’s rebuttal opinions would be until his expert report was served on December 8,
     2022. Smyth Decl., 6.                                                      ASETEK’S OPPOSITION TO DEFENDANTS’
                                                      10                              MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
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1    Exhibit 275—less than two weeks after receiving Dr. Pokharna’s rebuttal report and more than two

2    weeks before Dr. Pokharna’s deposition (during which he testified about it)—was substantially

3    justified under the circumstances.

4                   2.      Asetek’s production of Exhibit 275 was harmless because both
                            parties’ experts testified about it during their depositions, trial is
5                           almost a year away, and Dr. Tuckerman’s opinion has not
                            changed.
6

7           CoolIT has not been harmed by the timing of Asetek’s production of Exhibit 275, and its

8    motion resorts only to generalized and unsubstantiated allegations of prejudice. This is an additional

9    and independent reason why CoolIT’s motion should be denied.
10          CoolIT does not cite any cases on the “harmless” exception to Rule 37 in its brief, but the
11   courts generally only find harm in circumstances that are not present here, like imminent trial and/or
12   the lack of opportunity to conduct discovery. For example, in Yeti by Molly, Ltd. v. Deckers Outdoor
13   Corp., 259 F.3d 1101, 1107 (9th Cir. 2001), a seminal case in the 9th Circuit on exclusion of belated

14   expert opinion under Rule 26 and Rule 37, the Court found harm because the objecting party would

15   need to depose the expert to be able to respond. In Asetek Danmark A/S v. CMI USA, the court

16   precluded an expert from giving certain opinions at trial because “the late disclosure came literally

17   on the eve of trial, and the Court’s only choice to remedy the prejudice to Asetek [was] to exclude”

18   the testimony. Asetek Danmark A/S v. CMI USA, Inc., Case No. 13-CV-00457-JST, 2014 WL

19   6997670, at *2 (N.D. Cal. Dec. 9, 2014) (emphasis added). Specifically, in Asetek, the court found

20   that the untimely expert opinion was not in the expert’s report or clearly disclosed during his

21   deposition, and thus “Asetek was harmed by being unable to cross-examine Dr. Carman prior to trial

22   regarding his opinion.” Id. at *1-2. The court recognized situations where late disclosure did not

23   warrant exclusion, like where the disclosure came “several months before trial” and any potential

24   harm to the opposing party was mitigated by additional discovery. See id. at *2 (discussing and

25   citing Galentine v. Holland America Line–Westours, Inc., 333 F.Supp.2d 991, 993 (W.D. Wash.

26   2004)). Ultimately, the court in Asetek excluded the untimely testimony from CMI’s expert because

27   it came “on the eve of trial” and there was no way to mitigate prejudice to Asetek through additional

28   discovery. See id. The facts here are markedly different.
                                                                                 ASETEK’S OPPOSITION TO DEFENDANTS’
                                                       11                              MOTION TO STRIKE EXHIBIT 275
                                                                                        CASE NO. 3:19-CV-00410-EMC
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1            To begin with, CoolIT has already had the opportunity to depose Dr. Tuckerman twice on

2    Exhibit 275 and CoolIT’s own expert, Dr. Pokharna, has already provided his own opinions, so

3    CoolIT has not been harmed or prejudiced. In the March deposition, CoolIT’s counsel questioned

4    Dr. Tuckerman extensively about Exhibit 275, attempting to develop lines of cross-examination for

5    trial. Smyth Decl., Ex. B at 17:7-30:13. For example, CoolIT now criticizes Dr. Tuckerman for

6    considering Exhibit 275 because portions of it are in Danish (ignoring that Dr. Tuckerman relied on

7    the labeling on the box and the caliper measurements, which are not in Danish). See Dkt. 389-3 at

8    261:20-264:15. CoolIT did its best to develop this line of attack during Dr. Tuckerman’s second

9    deposition in March, even though Dr. Tuckerman defused these arguments. 3 That is, Dr. Tuckerman
10   testified that he was relying on the box labeling (which is in English) even though CoolIT’s counsel
11   (1) refused to show him Exhibit 275 at the deposition, (2) misrepresented that the document was
12   entirely in Danish, and (3) forced Dr. Tuckerman to answer questions from memory. Smyth Decl.,
13   Ex. B at 25:15-30:13, 89:24-94:15. CoolIT has had a full opportunity to cross examine Dr.
14   Tuckerman regarding Exhibit 275.
15           CoolIT asserts that “Dr. Pokharna will not have an opportunity to evaluate and provide
16   opinions related to the image shown in Exhibit 275,” (Dkt. 389 at 6), but that argument is meritless.
17   Dr. Pokharna has already considered Exhibit 275, formed opinions on it, and testified about it in his
18   January deposition. See Section II.D, supra. In particular, Dr. Pokharna has already opined that
19   Exhibit 275 shows Dr. Tuckerman’s measurements are too narrow. Smyth Decl., Ex. A at 125:24-
20   126:22. Dr. Tuckerman has since responded to that, pointing out that the width of the blade can get
21   smaller as it wears. Smyth Decl., Ex. B at 24:7-18. Expert discovery is already complete.
22           Moreover, any suggestion by CoolIT that it was “surprised” or “ambushed” by Dr.
23   Tuckerman’s testimony concerning Exhibit 275 are erroneous because Dr. Tuckerman’s testimony
24   does not express opinions “beyond the scope of [his] expert’s written report,” but rather opinions
25   that are “consistent with [it] and is a reasonable synthesis and/or elaboration of the opinions
26

27           3
               Ultimately, CoolIT’s criticisms go to the weight of Dr. Tuckerman’s opinions, not their
     admissibility. See Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993) (“Vigorous
28   cross-examination, presentation of contrary evidence, and careful instruction on the burden of proof
     are the traditional and appropriate means of attacking shaky but admissibleAevidence.”).
                                                                                 SETEK’S OPPOSITION TO DEFENDANTS’
                                                        12                            MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
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1    contained in [his] expert’s report.” Fujifilm Corp. v. Motorola Mobility LLC, Case No. 12-cv-03587-

2    WHO, 2015 WL 12622055, at *4 (N.D. Cal. Mar. 19, 2015) (quoting nCube Corp. v. SeaChange

3    Int'l, Inc., 809 F. Supp. 2d 337, 347 (D. Del. 2011)). With the introduction of Exhibit 275, Asetek

4    has not introduced a new theory or issue into the case, but instead Dr. Tuckerman’s opinion is the

5    same as it has been from the outset: “[t]he space between adjacent fins is about 0.9 - 1.0 mm.”

6    Dkt. 389-2, ¶ 57. Exhibit 275 merely corroborates Dr. Tuckerman’s measurements.

7              CoolIT cannot credibly assert any harm or prejudice from Exhibit 275. Because Asetek’s

8    production of Exhibit 275 was harmless, and so even if Rule 37 applied here (which it does not)

9    there would be no basis for striking Exhibit 275.
10             C.     CoolIT’s Request That All Expert Testimony Relying on Exhibit 275 Be
                      Struck is Meritless
11

12             CoolIT seeks to strike both Exhibit 275 and also all of Dr. Tuckerman’s opinions relying on
13   Exhibit 275, but CoolIT’s request should be rejected: Rule 37 is inapplicable, and Dr. Tuckerman’s
14   opinions are sound, as explained above. Importantly, Asetek will not use Dr. Tuckerman to establish
15   the admissibility of Exhibit 275 itself, rather an Asetek witness will establish the evidentiary basis
16   for the admissibility of Exhibit 275. Dr. Tuckerman will testify about what he is able to glean from
17   Exhibit 275, which merely corroborates the measurements he personally took of the Antarctica
18   device.
19             The cases CoolIT cited in its brief regarding the exclusion of expert testimony are
20   inapplicable because they each rely on Rule 37, and Rule 37 is inapplicable to Exhibit 275 (as
21   outlined above). For example, in MLC, a party failed to produce licenses that were required to be
22   produced in discovery under Rule 26, and so the expert could not rely on them. See MLC Intell.
23   Prop. v. Micron Tech., Case No. 14-cv-03657-SI, 2019 WL 2863585, at *14-15 (N.D. Cal. July 2,
24   2019). In Ingenco, the party whose expert testimony was struck ignored the written interrogatories
25   on damages and never even attempted to comply with its discovery obligations until the last day of
26   discovery. Ingenco Holdings, Ltd. Liab. Co. v. ACE Am. Ins. Co., 921 F.3d 803, 822 (9th Cir. 2019).
27   And in Elliott, the district court concluded the documents should have been produced in discovery,
28   but also commented that even if they had been timely disclosed, they were largely irrelevant. Elliott
                                                                                   ASETEK’S OPPOSITION TO DEFENDANTS’
                                                         13                              MOTION TO STRIKE EXHIBIT 275
                                                                                          CASE NO. 3:19-CV-00410-EMC
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1    v. Google, Inc., 860 F.3d 1151, 1161 (9th Cir. 2017). Unlike these cases, CoolIT has not established

2    the first requirement, that the information was owed under Rule 26, and so none of the cases are

3    applicable.

4           CoolIT separately suggests there is a hearsay problem with Dr. Tuckerman’s opinions

5    (Dkt. 389 at 5), but CoolIT is wrong. As mentioned, a knowledgeable Asetek witness, not Dr.

6    Tuckerman, will establish the foundation and admissibility of Exhibit 275 at trial. All of this is

7    routine and permissible under Rule 703 of the Federal Rules of Evidence: “An expert may base an

8    opinion on facts or data in the case that the expert has been made aware of or personally observed. If

9    experts in the particular field would reasonably rely on those kinds of facts or data in forming an
10   opinion on the subject, they need not be admissible for the opinion to be admitted.” Fed. R. Evid.
11   703. The Advisory Committee Notes to Rule 703 summarize the Rule by describing three potential
12   sources for facts and data upon which an expert opinion may be based: (1) firsthand observation of
13   the witness, (2) presentation at the trial, and (3) presentation of data to the expert outside of court
14   and other than by his own perception. Fed. R. Evid. 703 Advisory Committee Notes on Proposed
15   Rules. Experts routinely and properly assume the truth of facts and hypotheticals in rendering their
16   opinions under Rule 703, as recognized by the Advisory Committee Notes, which state in part:
17          The second source [of facts or data upon which an expert may render an opinion],
            presentation at trial, also reflects existing practice. The technique may be the familiar
18          hypothetical question or having the expert attend the trial and hear the testimony establishing
            facts.
19

20   Id. Thus, Dr. Tuckerman may base his expert opinions on information that will be presented at trial,
21   including information provided by a knowledgeable Asetek witness concerning the manufacturing
22   tools for the Antarctica device and/or Exhibit 275. Accordingly, CoolIT’s request to strike Dr.
23   Tuckerman’s opinions is baseless.
24          In addition, Rule 703 permits experts to rely on hearsay, or other inadmissible evidence, if
25   experts in the particular field would reasonably rely on those kinds of facts or data in forming an
26   opinion. See Fed. R. Evid. 703; Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1261-62 (9th Cir.
27   1984) (noting Rule 703 permits hearsay or other inadmissible evidence to be admitted to explain the
28   basis of the expert’s opinion). Dr. Tuckerman, who is basing his testimony on what he can glean
                                                                                    ASETEK’S OPPOSITION TO DEFENDANTS’
                                                         14                               MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
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1    from the document itself, is unlike the expert in Tubular Rollers, who was relying on information

2    provided to him by an individual who “ha[d] never seen the product used in the field,” and the expert

3    himself “ha[d] never seen in person the alleged infringing product at all.” Tubular Rollers, LLC v.

4    Maximus Oilfield Prod., LLC, Case o. 4:19-CV-03113, 2021 WL 5991744, at *3-4 (S.D. Tex. Dec.

5    16, 2021). Dr. Tuckerman is familiar with what tools for manufacturing microchannels look like and

6    can read the caliper measuring the width of the blade for himself. Thus, CoolIT’s alleged hearsay

7    issues are not a legitimate basis for excluding Dr. Tuckerman’s opinions.

8             Finally, by its motion, CoolIT attempts to cast doubt on Exhibit 275 and Dr. Tuckerman’s

9    reliance on it, but it is generally recognized that any alleged weaknesses in the factual basis of or
10   sources underlying an expert’s opinions “bear on the weight of the evidence rather than on its
11   admissibility.” See McLean v. 988011 Ontario, Ltd., 224 F3d 797, 801 (6th Cir. 2000); see also
12   Quality Packaging, Inc. v. Snak Club, Case No. C 03-5240 SI, 2005 WL 8177597, at *5 (N.D. Cal.
13   Apr. 26, 2005) (overruling unopposed objection that expert report was not based on sufficient facts
14   and data, noting that weakness in the factual basis generally bears on the weight of the evidence, not
15   the admissibility). “Vigorous cross-examination, presentation of contrary evidence, and careful
16   instruction on the burden of proof are the traditional and appropriate means of attacking shaky but
17   admissible evidence. Daubert, 509 U.S. at 596. CoolIT attempts to chip away at Dr. Tuckerman’s
18   opinions, but CoolIT’s criticisms should be resolved by cross-examination of Dr. Tuckerman and the
19   presentation of contradictory testimony by Dr. Pokharna, not by the exclusion of any of Dr.
20   Tuckerman’s opinions.
21   IV.      CONCLUSION
22            Rule 37 does not apply here, and even if it did Asetek’s production of Exhibit 275 was
23   substantially justified and harmless, so the Court should deny CoolIT’s motion.
24

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                                                                                  ASETEK’S OPPOSITION TO DEFENDANTS’
                                                        15                              MOTION TO STRIKE EXHIBIT 275
                                                                                         CASE NO. 3:19-CV-00410-EMC
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1    Dated: April 14, 2022             FINNEGAN, HENDERSON, FARABOW,
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2

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                                             ASETEK DANMARK A/S and
5                                            Counterdefendant ASETEK USA, INC.

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                                                                      ASETEK’S OPPOSITION TO DEFENDANTS’
                                             16                             MOTION TO STRIKE EXHIBIT 275
                                                                             CASE NO. 3:19-CV-00410-EMC
